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                        UNITED STATES DISTRICT COURT                         JS-6
                       CENTRAL DISTRICT OF CALIFORNIA

                        CIVIL MINUTES – GENERAL

 Case No: ED CV 20-02434-DOC (KKx)                 Date: November 12, 2021

 Title: Zurich American Insurance Company v Werner Enterprises, Inc., et al


 PRESENT: THE HONORABLE DAVID O. CARTER, JUDGE

              Deborah Lewman                              Not Present
              Courtroom Clerk                            Court Reporter

      ATTORNEYS PRESENT FOR                      ATTORNEYS PRESENT FOR
            PLAINTIFF:                                DEFENDANT:
           None Present                                None Present



       PROCEEDINGS (IN CHAMBERS): ORDER DISMISSING CIVIL
                                              CASE

        The Court, having been notified by counsel for the parties that this action
 has been settled re Notice of Settlement [25], hereby orders this action
 DISMISSED without prejudice. The Court hereby orders ALL proceedings in the
 case VACATED and taken off calendar. The Court retains jurisdiction for sixty
 (60) days to vacate this order and reopen the action upon showing of good cause
 that the settlement has not been consummated.

       The Clerk shall serve this minute order on the parties.


  MINUTES FORM 11
  CIVIL-GEN                                                      Initials of Deputy Clerk: djl
